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Ariel Legassa




02/07/24

The Honorable Judge Indira Talwani
Federal Judge
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210

Reference: Character Reference Letter for Ariel Legassa, Case Number
1:22-cr-10038-IT

Your Honor,

I am Ariel Legassa, writing in connection with Case #1:22-cr-10038-IT. I humbly request
your compassionate consideration for clemency. On November 3rd, 2023, I was
convicted in your courtroom, a verdict that has deeply affected my family and me.

I fully acknowledge the severity of my actions and their consequences. Prior to this, I
had lived as a law-abiding citizen, and this incident is a stark contrast to my lifelong
values.

The past two years have been extraordinarily challenging for us. I have lost my career in
digital technology within the sports network industry, significantly impacting our family's
stability. This hardship has been a catalyst for significant personal growth. I am currently
engaged in family counseling and pursuing a bachelor’s degree in health science,
aiming to start a new career as an acupuncturist.

The emotional toll on my family has been immense. My son Bautista, who resides with
us, suffers from severe anxiety episodes. Similarly, my daughter, who is in college,
experiences acute anxiety attacks. My wife, Nilda, currently unemployed, has been
shouldering these burdens alongside the stress of my conviction. Our family is in a state
of profound distress, and we are striving to navigate these turbulent times together.

As a father and a husband, I am deeply pained by the anguish my actions have caused
my loved ones. I respectfully plead for your mercy, not only for myself but for the
well-being of my family. We are in dire need of your clemency to rebuild and heal from
these trying circumstances.
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Throughout the trial, your fairness and objectivity were clearly evident, and for that, I am
immensely grateful. I am acutely aware of the gravity of my actions and am committed
to making amends and seizing any opportunity for a second chance.

With the highest regard and respect,

Ariel Legassa
